Case 2:03-cV-02948-.]DB-tmp Document 66 Filed 08/31/05 Page 1 of 2 Page|D 71

F|l.ED B‘r’ ____ [) C
IN THE UNITED STATES DISTRICT COURT °'

 

   

FOR THE wESTERN DISTRICT oF TENNESSE
EASTERN DIVISION hhs AUG 3' PH 3= 59
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S§F- '§`§ COURI
CHESHNEL§MONTGOMERY, …§£

PIaintin`,
v_ Case No. 03-2948
IURY DEMAND
STATE of TENNESSEE,
Def`endant.

 

ORDER GRANTING JOINT MOTION FOR EXTENSION OF TIME TO FILE
RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

 

It appears to the Court for good cause Shown that the
Joiht Motioh for an Extension, cf Time For Plaihtiff to
Respohd to Defendant’a Motieh for Summary Judqmeht is well
takeh.

IT IS hereby erdered that Plaihtiff Shall have up to
ahd, includihg' Wedhesdayy Septemher‘ 14, 2005, to file her

respehse to Defendant'a Motioh for Summary Judqmeht.

3
:T 15 30 0RDERED this '31 day @f , 2005.

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Honorable J. Breen
US DISTRICT COURT

